Case 1:24-cv-10049-LJL   Document 1-3   Filed 12/31/24   Page 1 of 3




         Exhibit C
             Case 1:24-cv-10049-LJL              Document 1-3        Filed 12/31/24        Page 2 of 3




                                                  IT ENDS WITH US
                                                         August 9, 2024

                                                       (UPDATED 7/29/24)

LOGLINE
IT ENDS WITH US, the first Colleen Hoover novel adapted for the big screen, tells the compelling story of Lily
Bloom (Blake Lively), a woman who overcomes a traumatic childhood to embark on a new life in Boston and
chase a lifelong dream of opening her own business. A chance meeting with charming neurosurgeon Ryle Kincaid
(Justin Baldoni) sparks an intense connection, but as the two fall deeply in love, Lily begins to see sides of Ryle
that remind her of her parents’ relationship. When Lily’s first love, Atlas Corrigan (Brandon Sklenar), suddenly
reenters her life, her relationship with Ryle is upended, and Lily realizes she must learn to rely on her own
strength to make an impossible choice for her future.

Directed by Justin Baldoni and produced by Alex Saks, Jamey Heath, Blake Lively and Christy Hall. The film stars
Blake Lively, Justin Baldoni, Jenny Slate, Hasan Minhaj, Amy Morton and Brandon Sklenar, from a screenplay by
Christy Hall, based on the book by Colleen Hoover.

POSITIONING
Blake Lively and Justin Baldoni are starring in the film adaptation of Colleen Hoover’s highest-selling novel It Ends
With Us.

This is the first film of the Colleen Hoover phenomena to be adapted for the big screen. She is also executive
producing.

Justin Baldoni is also directing and executive producing.

As well as starring, Blake Lively is also producing.

Brandon Sklenar is perfectly cast as the charismatic Atlas who brings an impressive emotional depth to the role,
along with Jenny Slate and Hasan Minhaj, who both bring compassion and humor to the film.

Teen versions of Atlas and Lily are played by up-and-coming actors Alex Neustaedter and Isabela Ferrer, who
deliver exceptional performances.

IT ENDS WITH US is a big, emotional, complicated story about breaking free from the past and empowering
yourself and your future. The character of Lily Bloom has resonated with so many readers because her journey is
relatable – her story isn’t black and white. She has to make hard decisions that have lasting consequences.

This is a story about Lily’s journey from leaving a small town, moving to Boston and embarking on a whole new
life. She leaves behind a complicated childhood and in doing so discovers her own resilience and strength,
empowering her to stand up to adversity.

This movie has every emotion – joy, sadness, pain, and hope.
             Case 1:24-cv-10049-LJL             Document 1-3          Filed 12/31/24        Page 3 of 3



After growing up in a home where Lily witnessed her mother being abused by her father and vowing never to be
in that position, she enters a relationship with Ryle and unwittingly finds herself following the same footsteps as
her mother. Through this journey, Lily must learn to stand up for herself and that true strength lies within.

The book connected with millions of readers and became a rare phenomenon in the publishing world – everyone
knows someone who has read this book.

Whether you have read the book or not, this is the perfect movie to see with your friends or anyone in your
support system. Women all rely on their sisters, mothers, girlfriends etc for support as they navigate the ups and
downs of life and so this is the perfect film to share the experience with those in their support network.

After becoming a “BookTok” cultural phenomenon with over 2 billion views on her TikTok hashtag, Colleen
Hoover is currently the best-selling novelist in the US with over 25 million books sold by the end of 2023. Hoover
wrote five of the top 10 best-selling print books of any genre in 2022.

Published in 43 foreign languages, It Ends With Us was the top selling print book of 2022, has been on the New
York Times Best Seller List for over 135 weeks by the end of 2023.

WHAT TO AVOID
Focus more on Lily’s strength and resilience as opposed to describing the film as a story about domestic violence.
Empowerment is not just about standing up to adversity, but also about having the power to overcome within
oneself and grow from it and developing agency to shape the future.

Avoid describing the film as a love story or love triangle – it’s the story of Lily learning how to take agency of her
future.

Avoid talking about this film that makes it feel sad or heavy – it’s a story of hope.

Avoid talking about the film being representative of every woman’s story. There are many stories of domestic
violence, and this is just one perspective that is inspired by Colleen Hoover’s own experiences growing up.

ONLY IF ASKED
Any questions about the story not being an authentic representation of domestic violence:
This is just one perspective that is inspired by Colleen Hoover’s own deeply personal story of growing up in Texas.

Any questions about the lack of diversity in the cast:
We have such a wonderful cast who all bring something unique in telling this powerful story of one woman
learning to take agency over her future. I’m so proud to be part of an incredible group of women who have to
make this film that is inspired by Colleen Hoover’s own deeply personal story.
